           Case 3:20-cr-00249-RS    Document 675-10   Filed 06/06/25    Page 1 of 54
NAC Foundation, LLC
                                                                           INVOICE
                                                                                         INV-2834



                                                                       Date:    Jan 8, 2018
Bill To:
                                                            Payment Terms:      NET 10
Suzette van Reede van Oudtshoorn
                                                                   Due Date:    Jan 18, 2018

                                                             Balance Due:       $0




Item                                                    Quantity        Rate             Amount

AML Token Sale deposit to account                       1               $ 300            $ 300




                                                                       Total:   $ 300

                                                               Amount Paid:     $ 300




                                                                                EX3141-001
Case 3:20-cr-00249-RS   Document 675-10   Filed 06/06/25   Page 2 of 54
Case 3:20-cr-00249-RS   Document 675-10   Filed 06/06/25   Page 3 of 54
           Case 3:20-cr-00249-RS            Document 675-10           Filed 06/06/25       Page 4 of 54

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Please allow approximately five (5) days after your wire is sent for your token account to be credited.



CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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confirmation to




                                                                                                 EX3141-004
           Case 3:20-cr-00249-RS    Document 675-10   Filed 06/06/25    Page 5 of 54
NAC Foundation, LLC
                                                                           INVOICE
                                                                                         INV-2902



                                                                       Date:    Jan 8, 2018
Bill To:
                                                            Payment Terms:      NET 10
Salvatore Coretto
                                                                   Due Date:    Jan 18, 2018

                                                             Balance Due:       $0




Item                                                    Quantity        Rate             Amount

AML Token Sale deposit to account                       1               $ 300            $ 300




                                                                       Total:   $ 300

                                                               Amount Paid:     $ 300




                                                                                EX3141-005
           Case 3:20-cr-00249-RS            Document 675-10           Filed 06/06/25       Page 6 of 54

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3141-006
           Case 3:20-cr-00249-RS    Document 675-10   Filed 06/06/25    Page 7 of 54
NAC Foundation, LLC
                                                                           INVOICE
                                                                                            INV-2925



                                                                       Date:      Jan 8, 2018
Bill To:
                                                            Payment Terms:        NET 10
Jason jansky
                                                                   Due Date:      Jan 18, 2018

                                                             Balance Due:         $0




Item                                                    Quantity        Rate                Amount

AML Token Sale deposit to account                       1               $ 1,250             $ 1,250




                                                                       Total:     $ 1,250

                                                               Amount Paid:       $ 1,250




                                                                                EX3141-007
           Case 3:20-cr-00249-RS            Document 675-10           Filed 06/06/25       Page 8 of 54

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3141-008
           Case 3:20-cr-00249-RS    Document 675-10   Filed 06/06/25    Page 9 of 54
NAC Foundation, LLC
                                                                           INVOICE
                                                                                         INV-2958



                                                                       Date:    Jan 8, 2018
Bill To:
                                                            Payment Terms:      NET 10
Susumu Blackwolf
                                                                   Due Date:    Jan 18, 2018

                                                             Balance Due:       $0




Item                                                    Quantity        Rate             Amount

AML Token Sale deposit to account                       1               $ 500            $ 500




                                                                       Total:   $ 500

                                                               Amount Paid:     $ 500




                                                                                EX3141-009
          Case 3:20-cr-00249-RS            Document 675-10           Filed 06/06/25       Page 10 of 54

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3141-010
           Case 3:20-cr-00249-RS    Document 675-10   Filed 06/06/25    Page 11 of 54
NAC Foundation, LLC
                                                                           INVOICE
                                                                                          INV-2997



                                                                        Date:    Jan 9, 2018
Bill To:
                                                             Payment Terms:      NET 10
Steven Chen
                                                                    Due Date:    Jan 19, 2018

                                                              Balance Due:       $0




Item                                                     Quantity        Rate             Amount

AML Token Sale deposit to account                        1               $ 300            $ 300




                                                                       Total:    $ 300

                                                                Amount Paid:     $ 300




                                                                                 EX3141-011
          Case 3:20-cr-00249-RS            Document 675-10           Filed 06/06/25       Page 12 of 54

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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confirmation to




                                                                                                 EX3141-012
           Case 3:20-cr-00249-RS    Document 675-10   Filed 06/06/25    Page 13 of 54
NAC Foundation, LLC
                                                                           INVOICE
                                                                                          INV-3032



                                                                        Date:    Jan 9, 2018
Bill To:
                                                             Payment Terms:      NET 10
Alexander Dube
                                                                    Due Date:    Jan 19, 2018

                                                              Balance Due:       $0




Item                                                     Quantity        Rate             Amount

AML Token Sale deposit to account                        1               $ 400            $ 400




                                                                       Total:    $ 400

                                                                Amount Paid:     $ 400




                                                                                 EX3141-013
          Case 3:20-cr-00249-RS            Document 675-10           Filed 06/06/25       Page 14 of 54

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3141-014
           Case 3:20-cr-00249-RS    Document 675-10   Filed 06/06/25    Page 15 of 54
NAC Foundation, LLC
                                                                           INVOICE
                                                                                          INV-3076



                                                                        Date:    Jan 9, 2018
Bill To:
                                                             Payment Terms:      NET 10
Tanmay Korgaonkar
                                                                    Due Date:    Jan 19, 2018

                                                              Balance Due:       $0




Item                                                     Quantity        Rate             Amount

AML Token Sale deposit to account                        1               $ 500            $ 500




                                                                       Total:    $ 500

                                                                Amount Paid:     $ 500




                                                                                 EX3141-015
          Case 3:20-cr-00249-RS            Document 675-10           Filed 06/06/25       Page 16 of 54

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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confirmation to




                                                                                                 EX3141-016
           Case 3:20-cr-00249-RS    Document 675-10   Filed 06/06/25    Page 17 of 54
NAC Foundation, LLC
                                                                           INVOICE
                                                                                          INV-3108



                                                                        Date:    Jan 10, 2018
Bill To:
                                                             Payment Terms:      NET 10
Hassan
                                                                    Due Date:    Jan 20, 2018

                                                              Balance Due:       $0




Item                                                     Quantity        Rate             Amount

AML Token Sale deposit to account                        1               $ 500            $ 500




                                                                       Total:    $ 500

                                                                Amount Paid:     $ 500




                                                                                 EX3141-017
          Case 3:20-cr-00249-RS            Document 675-10           Filed 06/06/25       Page 18 of 54

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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confirmation to




                                                                                                 EX3141-018
           Case 3:20-cr-00249-RS    Document 675-10   Filed 06/06/25    Page 19 of 54
NAC Foundation, LLC
                                                                           INVOICE
                                                                                          INV-3137



                                                                        Date:    Jan 10, 2018
Bill To:
                                                             Payment Terms:      NET 10
jorge lendeborg
                                                                    Due Date:    Jan 20, 2018

                                                              Balance Due:       $0




Item                                                     Quantity        Rate             Amount

AML Token Sale deposit to account                        1               $ 625            $ 625




                                                                       Total:    $ 625

                                                                Amount Paid:     $ 625




                                                                                 EX3141-019
          Case 3:20-cr-00249-RS            Document 675-10           Filed 06/06/25       Page 20 of 54

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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confirmation to




                                                                                                 EX3141-020
           Case 3:20-cr-00249-RS    Document 675-10   Filed 06/06/25    Page 21 of 54
NAC Foundation, LLC
                                                                           INVOICE
                                                                                          INV-3156



                                                                        Date:    Jan 10, 2018
Bill To:
                                                             Payment Terms:      NET 10
Alan Greenblatt
                                                                    Due Date:    Jan 20, 2018

                                                              Balance Due:       $0




Item                                                     Quantity        Rate             Amount

AML Token Sale deposit to account                        1               $ 300            $ 300




                                                                       Total:    $ 300

                                                                Amount Paid:     $ 300




                                                                                 EX3141-021
          Case 3:20-cr-00249-RS            Document 675-10           Filed 06/06/25       Page 22 of 54

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3141-022
           Case 3:20-cr-00249-RS    Document 675-10   Filed 06/06/25    Page 23 of 54
NAC Foundation, LLC
                                                                           INVOICE
                                                                                          INV-3186



                                                                        Date:    Jan 11, 2018
Bill To:
                                                             Payment Terms:      NET 10
Patrick Mafi
                                                                    Due Date:    Jan 21, 2018

                                                              Balance Due:       $0




Item                                                     Quantity        Rate             Amount

AML Token Sale deposit to account                        1               $ 300            $ 300




                                                                       Total:    $ 300

                                                                Amount Paid:     $ 300




                                                                                 EX3141-023
          Case 3:20-cr-00249-RS            Document 675-10           Filed 06/06/25       Page 24 of 54

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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confirmation to




                                                                                                 EX3141-024
           Case 3:20-cr-00249-RS    Document 675-10   Filed 06/06/25    Page 25 of 54
NAC Foundation, LLC
                                                                           INVOICE
                                                                                             INV-3211



                                                                        Date:      Jan 11, 2018
Bill To:
                                                             Payment Terms:        NET 10
Julio Awesome
                                                                    Due Date:      Jan 21, 2018

                                                              Balance Due:         $0




Item                                                     Quantity        Rate                Amount

AML Token Sale deposit to account                        1               $ 1,250             $ 1,250




                                                                       Total:      $ 1,250

                                                                Amount Paid:       $ 1,250




                                                                                EX3141-025
          Case 3:20-cr-00249-RS            Document 675-10           Filed 06/06/25       Page 26 of 54

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3141-026
           Case 3:20-cr-00249-RS    Document 675-10   Filed 06/06/25    Page 27 of 54
NAC Foundation, LLC
                                                                           INVOICE
                                                                                             INV-3285



                                                                        Date:      Jan 12, 2018
Bill To:
                                                             Payment Terms:        NET 10
jaime rios
                                                                    Due Date:      Jan 22, 2018

                                                              Balance Due:         $0




Item                                                     Quantity        Rate                Amount

AML Token Sale deposit to account                        1               $ 2,500             $ 2,500




                                                                       Total:      $ 2,500

                                                                Amount Paid:       $ 2,500




                                                                                EX3141-027
          Case 3:20-cr-00249-RS            Document 675-10           Filed 06/06/25       Page 28 of 54

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3141-028
           Case 3:20-cr-00249-RS    Document 675-10   Filed 06/06/25    Page 29 of 54
NAC Foundation, LLC
                                                                           INVOICE
                                                                                             INV-3319



                                                                        Date:      Jan 12, 2018
Bill To:
                                                             Payment Terms:        NET 10
taedeok Seo
                                                                    Due Date:      Jan 22, 2018

                                                              Balance Due:         $0




Item                                                     Quantity        Rate                Amount

AML Token Sale deposit to account                        1               $ 1,870             $ 1,870




                                                                       Total:      $ 1,870

                                                                Amount Paid:       $ 1,870




                                                                                EX3141-029
          Case 3:20-cr-00249-RS            Document 675-10           Filed 06/06/25       Page 30 of 54

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3141-030
           Case 3:20-cr-00249-RS    Document 675-10   Filed 06/06/25    Page 31 of 54
NAC Foundation, LLC
                                                                           INVOICE
                                                                                          INV-3340



                                                                        Date:    Jan 13, 2018
Bill To:
                                                             Payment Terms:      NET 10
Sridhar Chari
                                                                    Due Date:    Jan 23, 2018

                                                              Balance Due:       $0




Item                                                     Quantity        Rate             Amount

AML Token Sale deposit to account                        1               $ 375            $ 375




                                                                       Total:    $ 375

                                                                Amount Paid:     $ 375




                                                                                 EX3141-031
          Case 3:20-cr-00249-RS            Document 675-10           Filed 06/06/25       Page 32 of 54

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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confirmation to




                                                                                                 EX3141-032
           Case 3:20-cr-00249-RS    Document 675-10   Filed 06/06/25    Page 33 of 54
NAC Foundation, LLC
                                                                           INVOICE
                                                                                          INV-3383



                                                                        Date:    Jan 13, 2018
Bill To:
                                                             Payment Terms:      NET 10
Merkosh
                                                                    Due Date:    Jan 23, 2018

                                                              Balance Due:       $0




Item                                                     Quantity        Rate             Amount

AML Token Sale deposit to account                        1               $ 315            $ 315




                                                                       Total:    $ 315

                                                                Amount Paid:     $ 315




                                                                                 EX3141-033
          Case 3:20-cr-00249-RS            Document 675-10           Filed 06/06/25       Page 34 of 54

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3141-034
           Case 3:20-cr-00249-RS    Document 675-10   Filed 06/06/25    Page 35 of 54
NAC Foundation, LLC
7495 W. Azure Drive
Las Vegas, Nevada 89130
                                                                           INVOICE
United States                                                                             INV-3428



                                                                        Date:    Jan 13, 2018
Bill To:
                                                             Payment Terms:      NET 10
taedeok Seo
                                                                    Due Date:    Jan 23, 2018

                                                              Balance Due:       $0




Item                                                     Quantity        Rate             Amount

AML Token Sale deposit to account                        1               $ 930            $ 930




                                                                       Total:    $ 930

                                                                Amount Paid:     $ 930




                                                                                 EX3141-035
Case 3:20-cr-00249-RS   Document 675-10   Filed 06/06/25   Page 36 of 54
           Case 3:20-cr-00249-RS    Document 675-10   Filed 06/06/25    Page 37 of 54
NAC Foundation, LLC
                                                                           INVOICE
                                                                                          INV-3470



                                                                        Date:    Jan 14, 2018
Bill To:
                                                             Payment Terms:      NET 10
Musab Elhimri
                                                                    Due Date:    Jan 24, 2018

                                                              Balance Due:       $0




Item                                                     Quantity        Rate             Amount

AML Token Sale deposit to account                        1               $ 300            $ 300




                                                                       Total:    $ 300

                                                                Amount Paid:     $ 300




                                                                                 EX3141-037
          Case 3:20-cr-00249-RS            Document 675-10           Filed 06/06/25       Page 38 of 54

Terms:
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Please allow approximately five (5) days after your wire is sent for your token account to be credited.



CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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confirmation to




                                                                                                 EX3141-038
           Case 3:20-cr-00249-RS    Document 675-10   Filed 06/06/25    Page 39 of 54
NAC Foundation, LLC
                                                                           INVOICE
                                                                                          INV-3510



                                                                        Date:    Jan 14, 2018
Bill To:
                                                             Payment Terms:      NET 10
Amitesh Mishra
                                                                    Due Date:    Jan 24, 2018

                                                              Balance Due:       $0




Item                                                     Quantity        Rate             Amount

AML Token Sale deposit to account                        1               $ 375            $ 375




                                                                       Total:    $ 375

                                                                Amount Paid:     $ 375




                                                                                 EX3141-039
          Case 3:20-cr-00249-RS            Document 675-10           Filed 06/06/25       Page 40 of 54

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confirmation to




                                                                                                 EX3141-040
           Case 3:20-cr-00249-RS    Document 675-10   Filed 06/06/25    Page 41 of 54
NAC Foundation, LLC
                                                                           INVOICE
                                                                                             INV-3556



                                                                        Date:      Jan 14, 2018
Bill To:
                                                             Payment Terms:        NET 10
Khalid Mahmood
                                                                    Due Date:      Jan 24, 2018

                                                              Balance Due:         $0




Item                                                     Quantity        Rate                Amount

AML Token Sale deposit to account                        1               $ 2,000             $ 2,000




                                                                       Total:      $ 2,000

                                                                Amount Paid:       $ 2,000




                                                                                EX3141-041
          Case 3:20-cr-00249-RS            Document 675-10           Filed 06/06/25       Page 42 of 54

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ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3141-042
           Case 3:20-cr-00249-RS    Document 675-10   Filed 06/06/25    Page 43 of 54
NAC Foundation, LLC
                                                                           INVOICE
                                                                                          INV-3599



                                                                        Date:    Jan 15, 2018
Bill To:
                                                             Payment Terms:      NET 10
Nageswara Rao
                                                                    Due Date:    Jan 25, 2018

                                                              Balance Due:       $0




Item                                                     Quantity        Rate             Amount

AML Token Sale deposit to account                        1               $ 375            $ 375




                                                                       Total:    $ 375

                                                                Amount Paid:     $ 375




                                                                                 EX3141-043
          Case 3:20-cr-00249-RS            Document 675-10           Filed 06/06/25       Page 44 of 54

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ACCOUNT NUMBER:              7620




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                                                                                                 EX3141-044
           Case 3:20-cr-00249-RS    Document 675-10   Filed 06/06/25    Page 45 of 54
NAC Foundation, LLC
                                                                           INVOICE
                                                                                             INV-3635



                                                                        Date:      Jan 15, 2018
Bill To:
                                                             Payment Terms:        NET 10
Raimondo Virciglio
                                                                    Due Date:      Jan 25, 2018

                                                              Balance Due:         $0




Item                                                     Quantity        Rate                Amount

AML Token Sale deposit to account                        1               $ 5,000             $ 5,000




                                                                       Total:      $ 5,000

                                                                Amount Paid:       $ 5,000




                                                                                EX3141-045
          Case 3:20-cr-00249-RS            Document 675-10           Filed 06/06/25       Page 46 of 54

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ACCOUNT NUMBER:              7620




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                                                                                                 EX3141-046
           Case 3:20-cr-00249-RS    Document 675-10   Filed 06/06/25    Page 47 of 54
NAC Foundation, LLC
                                                                           INVOICE
                                                                                          INV-3680



                                                                        Date:    Jan 15, 2018
Bill To:
                                                             Payment Terms:      NET 10
Jermain Thompson
                                                                    Due Date:    Jan 25, 2018

                                                              Balance Due:       $0




Item                                                     Quantity        Rate             Amount

AML Token Sale deposit to account                        1               $ 300            $ 300




                                                                       Total:    $ 300

                                                                Amount Paid:     $ 300




                                                                                 EX3141-047
          Case 3:20-cr-00249-RS            Document 675-10           Filed 06/06/25       Page 48 of 54

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ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3141-048
           Case 3:20-cr-00249-RS    Document 675-10   Filed 06/06/25    Page 49 of 54
NAC Foundation, LLC
                                                                           INVOICE
                                                                                             INV-3729



                                                                        Date:      Jan 15, 2018
Bill To:
                                                             Payment Terms:        NET 10
Curt Jentsch
                                                                    Due Date:      Jan 25, 2018

                                                              Balance Due:         $0




Item                                                     Quantity        Rate                Amount

AML Token Sale deposit to account                        1               $ 1,500             $ 1,500




                                                                       Total:      $ 1,500

                                                                Amount Paid:       $ 1,500




                                                                                EX3141-049
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ACCOUNT NUMBER:              7620




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                                                                                                 EX3141-050
           Case 3:20-cr-00249-RS    Document 675-10   Filed 06/06/25    Page 51 of 54
NAC Foundation, LLC
                                                                           INVOICE
                                                                                          INV-3763



                                                                        Date:    Jan 16, 2018
Bill To:
                                                             Payment Terms:      NET 10
Jayden Smith
                                                                    Due Date:    Jan 26, 2018

                                                              Balance Due:       $0




Item                                                     Quantity        Rate             Amount

AML Token Sale deposit to account                        1               $ 300            $ 300




                                                                       Total:    $ 300

                                                                Amount Paid:     $ 300




                                                                                 EX3141-051
          Case 3:20-cr-00249-RS            Document 675-10           Filed 06/06/25       Page 52 of 54

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                                                                                                 EX3141-052
           Case 3:20-cr-00249-RS    Document 675-10   Filed 06/06/25    Page 53 of 54
NAC Foundation, LLC
                                                                           INVOICE
                                                                                          INV-3824



                                                                        Date:    Jan 16, 2018
Bill To:
                                                             Payment Terms:      NET 10
Arun
                                                                    Due Date:    Jan 26, 2018

                                                              Balance Due:       $0




Item                                                     Quantity        Rate             Amount

AML Token Sale deposit to account                        1               $ 300            $ 300




                                                                       Total:    $ 300

                                                                Amount Paid:     $ 300




                                                                                 EX3141-053
          Case 3:20-cr-00249-RS            Document 675-10           Filed 06/06/25       Page 54 of 54

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                                                                                                 EX3141-054
